Case: 4:20-cv-01973-BYP Doc #: 17 Filed: 06/24/21 1 of 1. PageID #: 115




 PEARSON, J.

                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


 DEREK MORTLAND,                                 )
                                                 )     CASE NO. 4:20-CV-1973
                Plaintiff,                       )
                                                 )
        v.                                       )     JUDGE BENITA Y. PEARSON
                                                 )
 SIDHU BROTHERS, LLC,                            )
                                                 )
                Defendant.                       )     ORDER OF DISMISSAL



        On June 24, 2021, the parties informed the Court by telephone that this matter has been

 resolved. Therefore, the docket shall be marked “resolved and dismissed without prejudice.” On

 or before July 23, 2021, the parties shall submit a proposed and executed Stipulation of

 Dismissal with Prejudice, which, if approved, shall supersede this order.

        All upcoming case management dates are vacated.



        IT IS SO ORDERED.

    June 24, 2021                               /s/ Benita Y. Pearson
 Date                                         Benita Y. Pearson
                                              United States District Judge
